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ProSe7(Rev.12/16)ComplaintforEmploymentDiscrimination


                                     U NITED STATES D lsTRlcT COURT
                                                                 forthe
                                                  Southern DistrictofFlorida

                                                                  s4ianai ëlivision

                Esteban Ivanoff-Tzvetcoff                                 CaseNo.
                                                                                      (tobejilledinbytheClerk'sOf/icc,
                                                                                                                     l

                          Plaint#J/,)
(Writethefullnameofeachplaint# whoishling thiscolnplaint.                 JuryTrial:(checkone) V Yes          No
Jf//?E?namesofall#?t!plaint#sctznntl//'
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pleasewrite ''
             sceattached''in thespaceand attach an additional
pagewiththefullIistofnames.
                          )
                            -   V-
                                                                                 FILED BY                D.C.
                Borinquen MedicalCenter
                                                                                      Nûk 22 2218
                                                                                        ANGELAE.NOBLE
                                                                                       çkegK u,s.DIsT.cT.
                       Dejkndantts)                                                    :.D.ogFI-A.-MI
                                                                                                    AMI
(Writethefullnamet?feachdefendantwhoisbeingsued.J///;c
namesofallthedejèndantscannothtinthespaceabove,please
write ''
       seeattached''inthespaceand attachanadditionalpage
withthefullIistofnames)

                          CO M PLM NT FO R EM PLOYM ENT DISCRIM INATIO N

1.       ThePartiesto ThisCoinplaint
         A.       ThePlaintiffts)
                  Providethe information below foreach plaintiffnam ed in thecomplaint.Attach additionalpagesif
                  needed.
                           N am e
                            StreetAddress
                            City and County
                            State andZip Code
                            TelephoneNumber
                            E-mailAddress                       estebanivanoff@ gmail.com

          B.       TheDefendantls)
                   Providethe information below foreach defendantnamed inthecomplaint,whetherthedefendantisan
                   individual,agovernmentagency,an organization,ora corporation.Foran individualdefendant,
                   includetheperson'sjobortitle(fknownù.Attachadditionalpagesifneeded.
                                                                                                                         Page1of 6
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                  DefendantNo.1
                         Name                           Joseph Durandi
                                                                     s MD
                           JoborTitle(fknown)           Borinquen Famjly Medicine Program Director
                           StreetAddress                13936 NW 7thAve
                           City and County              Miami,MiamiDadeCounty
                           Stateand Zip Code            Flori
                                                            da 33168
                           TelephoneNumber              (954)612-8210
                           E-mailAddress(t
                                         fknown)        jodurandis@ hotmail.com

                  DefendantNo.2
                           N am e                       Diego I
                                                              tzjakShmuel
                                                                        s
                           JoborTitle(l
                                      k
                                      t-known)          Designated InstitutionalOfficerFam ily Medicine Program
                           StreetAddress                3601 FederalHwy
                           City and County              M iam i,M iam iDade County
                           State and Zip Code           Florida 33137
                           TelephoneNum ber             (305)505-2013
                           E-mailAddress(fknown)        dshmuels@ borinquenhealth.org

                  DefendantNo.3
                           N am e                       Deborah Gracia MD
                           Job orTitle(fknown)          ChiefM edi
                                                                 calOfficer
                           StreetAddress                3601 FederalHwy
                           City and County              Mi
                                                         am i,M i
                                                                am iDade County
                            Stateand Zip Code           Florida 33137
                           TelephoneNumber              (305)206-1973
                            E-m ailAddress(fknown)      dgracia@ borinquenheal
                                                                             th.org

                  DefendantNo.4
                         N am e                         PaulVelez
                            Job orTitle(kknown)         ChiefExecutive Officer
                            StreetAddress               3601 FederalHwy
                            City and County             Mi
                                                         ami,Mi
                                                              amiDade County
                            Stateand Zip Code           Florida 33137
                            TelephoneNumber             (305)576-6611
                            E-m ailAddress(kknojvn)     pvelez@ borinquenhealth.org


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ProSe7(Rev.12/16)ComplaintforEmploymentDi
                                        scri
                                           mination

                  PlaceofEm ploym ent

                  Theaddressatwhichlsoughtemploymentorwasemployedbythedefendantts)is

                         N am e                        Borinquen M edicalCenter
                         StreetAddress                3601 FederalHwy
                         City and County               Mi
                                                        ami,Mi
                                                             amiDade County
                         State and Zip Code            Florida 33137
                         TelephoneN um ber            (305)576-6611

II.     BasisforJurisdiction

        Thisaction isbroughtfordiscrimination in employmentpursuantto (checkaIIthatappl
                                                                                      yl.
                                                                                        .




              Z            TitleVIloftheCivilRightsActof1964,ascodified,42U.S.C.jj2000eto2000e-17(race,
                           color,gender,religion,nationalorigin).

                           (Note:lnordertobringsuitinfederaldistrictcourtunderTitleVILyoumustfrstobtaina
                           NoticeofRighttoSueIetterfkom theEqualEmploymentOpportunity Commission.
                                                                                                )

              Z            AgeDiscriminationinEmploymentActofl967,ascodified,29U.S.C.jj62lto634.

                           (Note:InordertobringsuitinfederaldistrictcourtundertheAgeDiscriminationin
                           EmploymentAct,youmusthrstfleachargewith theEqualEmploymentOpportunity
                           Commission)

              L            AmericanswithDisabilitiesActofl990,ascodified,42U.S.C.jjl2112to12l17.
                           (Note:Inordertobring suitinfederaldistrictcourtundertheAmericanswithDisabilities
                           Act,youmustjlrstobtainaNoticeofRighttoSueIetterfrom theEqualEmployment
                           OpportunityCommission)
                           Otherfederal1aw (specitkthe#deral/- ,
                                                               ):


              Z            Relevantstate law (specqjby'
                                                      ânown.l:
                           Fla.Sta.Secti
                                       on760.10(1)(a),Fla.Sta.Secti
                                                                  on760.10(4),Fla.Sta.Section760.1045)
                           Relevantcity orcounty law (spec# ,fknownll




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111.     StatementofClaim
         W rite ashortandplain statem entoftheclaim .Do notmakelegalarguments. Stateasbrietly aspossiblethe
         factsshowing thateach plaintiffisentitled to thedamagesorotherreliefsought.Statehow each defendantwaq
         involved and whateach defendantdid thatcaused theplaintiffharm orviolated theplaintiffsrights,including
         thedatesand placesofthatinvolvem entorconduct. lfm orethan oneclaim isasserted,numbereach claim and
         writeashortand plain statementofeach claim in a separate paragraph.Attach additionalpagesifneeded.

         A.       Thediscriminatory conductofwhich Icom plain in thisaction includes(checkaIlthatapply):

                       L            Failureto hireme.
                       Ed           Tennination ofm y em ploym ent.
                       L            Failureto promoteme.
                       EZ           Failure to accommodate my disability.
                                    Unequaltermsandconditionsofmy employment.
                        Z           Retaliation.
                        EZ          Otheracts(specqp :
                                    (Note: Only thosegroundsraisedinthechargefledwiththeEqualEmployment
                                    OpportunityCommissioncanbeconsideredby thefederaldistrictcourtunderthe
                                    federalemploymentdiscriminationstatutes.
                                                                           )
       B.         ltismybestrecollectionthattheallegeddiscriminatoryactsoccurredondatets)
                  May13,2019to September13,2019andSeptember17,2019(dateofterminati       on)

        C.        Ibelievethatdefendantts)(checkt?rl
                                                   c,):
                                     is/are stil!committingtheseactsagainstme.
                         V           is/arenotstillcommittingtheseactsagainstme.

        D.        Defendantls)discriminatedagainstmebasedonmy(checkallthatapplyandexplainl:
                                     race
                                     color
                                     gender/sex
                                     religion
                                     nationalorigin
                          V          age(
                                        yearoysrm?            1975 (onlywhenassertingaclaim ofagediscrimination.
                                                                                                               )
                                     disability orperceived disability (specqkdisabilit
                                                                                      y)


                   Thefactsofmy caseareasfollows.Attach additionalpagesifneeded.



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                                            mination
                 See attached. .




                 (Notc:Asadditionalsupportforthefactsofyourclaim,youmayattachtothiscomplaintacopyof
                 yourchargefledwiththeEqualEmploymentOpportunityCommission,orthechargehledwiththe
                 relevantstateorcf/y human rightsdivision.
                                                         )

IV. Exhaustion ofFederalAdministrative Rem edies

                 Itismy bestrecollection thatItiled achargewiththeEqualEmploymentOpportunity Commission or
                 my EqualEmploym entOpportunity counselorregarding thedefendant'salleged discriminatory conduct
                 on (date)
                 Septem ber26,2019.


       B.        The EqualEmploymentOpportunity Commission(checkonell
                                    hasnotissued aNoticeofRightto Sueletter.
                        U           issued aNotice ofRightto Sue letter, which lreceived on (date) 09/30/2019        .
                                   (Note:AttachacopyoftheNoticeofRighttoSueletterfrom theEqualEmployment
                                   OpportunityCommissiontothiscomplaint)

                 Only litigantsalleging age discrimination mustanswerthisquestion.

                  Since filing my chargeofage discrimination withtheEqualEm ploymentOpportunity Comm ission
                  regarding thedefendant'salleged discrim inatory conduct(checkonel:


                        Z           60daysormorehaveelapsed.
                                    lessthan 60dayshave elapsed.

       R elief

       Statebrietly and precisely whatdam agesorotherrelieftheplaintiffasksthe courtto order. Do notmakelegal
       arguments.lncludeany basisforclaim ing thatthewrongsalleged arecontinuing atthepresenttime. Include the
       amountsofany actualdam agesclaimed fortheactsalleged and the basisfortheseamounts. lncludeany punitive
       orexemplary damagesclaimed,theamounts,and thereasonsyou claim youareentitled to actualorpunitive
       money damages.




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    ProSe7(Rev.12/16)Compl
                         aintforEmploymentDiscrimination
           PreliminaryandPermanentInjuncti vereliefforjobreinstatementmandatingthatPl
                                                                                    aintiffbereinstatedintohis
           residencytrainingwithoutbeingrequiredtosigntheresidentreinstatementagreement(ExhibitSS)oranyother
           noncompetenon-competenon-di   sclosureandconflictofinterestagreement(ExhibitV andZ)pendingthe
           outcome ofthe case.Monetarydamages:Frontpay inthe amountof$162,000.00 basedon three years ofsalary
           at$54,000.00 ayear.Puni
                                 tive and Iiquidated damages inanamountof$138,000.00due to the intentionaland
           egregious nature ofthediscriminati
                                            on and retaliation regarding complaintsaboutthe di
                                                                                             scrimination fora total
           amountof$300!000.00.Plaintiffis al
                                            ,
                                             so requesting Iostincome due to Borinquen notallowing him to-complete the
           program he inti
                         tlated and Borinquensfailure to use the program Plainti
                                                                               ffcreatedfori
                                                                                           ts intended purposesin the
           '
           pfwoun oi-$x oqooo.oo fbrcorwpcogeiory gafnaqe.,s .
    VI. Certification and Closing

          UnderFederalRuleofCivilProcedure 11,by signing below,Icertify tothebestofmy knowledge,information,
          andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimproperpurpose,suchastoharass,cause
          unnecessarydelay,orneedlesslyincreasethecostofIitigation;(2)issupportedbyexistinglaw orbya
          nonfrivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefactualcontentionshave
          evidentiary supportor,ifspecifically so identified,willlikely haveevidentiary supportafterareasonable
          opportunity forfurtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
          requirementsofRule 11.


          A.         ForPartiesW ithoutan A ttorney

                     lagreeto provide theClerk'sOftice with any changesto my addresswherecase-related papersmay be
                     served. Iunderstand thatmy failureto keep a currentaddresson tilewiththeClerk'sOffice may result
                     in the dismissalofmy case.

                     Dateofsigning:                        2 / t9
                     signatureot-plaintifr
                     PrintedNameofPlaintiff FvAebao                  zao         -T       q
          B.         ForAttorneys

                     Date ofsigning'
                                   .


                     SignatureofAttorney
                     Printed Nam eofAttorney
                     BarNumber
                     NameofLaw Firm
                     StreetAddress
                     Stateand ZipCode
                     TelephoneNumber
                     E-mailAddress




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